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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                v.                           :       Case No. 23-cr-229 (CJN)
                                             :
TAYLOR FRANKLIN TARANTO,                     :
                                             :
                       Defendant.            :


                            MOTION TO DISMISS COUNT ONE

        The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully moves to dismiss Count One (26 U.S.C. §§ 5861(d), 5845(a)(3)) of the

Superseding Indictment without prejudice. The government is moving to dismiss Count One in the

interest of justice.



                                             Respectfully submitted,

                                             EDWARD R. MARTIN, JR.
                                             United States Attorney
                                             D.C. Bar Number 481866

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